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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                                              CASE NUMBER:
Arch Specialty Insurance Company ,                                           CV19-06964-DDP (ASx)
                                               Plaintiff(s)
                               v.

University of Southern California
                                                               MOTION RE: INFORMAL DISCOVERY DISPUTE
                                             Defendant(s)



        The parties have requested an informal discovery conference with Magistrate Judge Alka Sagar. Counsel
for each party has submitted their respective positions and the issue will be adjudicated in accordance with the
Magistrate Judge's procedures.
        A telephone conference is set is set for July 13, 2021 at 10:00 a.m. The call-in number and password
will be e-mailed to the parties.



 Dated:             July 8, 2021                                     By:             Alma Felix
                                                                                     Deputy Clerk




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